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        [ORAL ARGUMENT SCHEDULED FOR SEPTEMBER 16, 2024]

                 IN THE UNITED STATES COURT OF APPEALS
                  FOR THE DISTRICT OF COLUMBIA CIRCUIT


 TIKTOK INC. and BYTEDANCE LTD.,

                       Petitioners,

                         v.                               No. 24-1113 (consol.
                                                         with Nos. 24-1130, 24-
 MERRICK B. GARLAND, in his official                             1183)
  capacity as Attorney General of the
  United States,

                       Respondent.



               NOTICE REGARDING HEARING TRANSCRIPT

      This case concerns the constitutionality of provisions of the Protecting

Americans from Foreign Adversary Controlled Applications Act, Pub. L. No. 118-

50, div. H, 138 Stat. 955 (2024). In connection with consideration of the Act,

Congress conducted one classified hearing and received several classified briefings

from the Executive Branch.

      On July 11, the Department of Justice obtained from Congress the transcript

of the one classified hearing, a March 7, 2024, executive session of the House

Committee on Energy and Commerce. The Department is not citing to or relying

on this transcript in the brief filed today. Rather, it is relying on classified
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declarations of employees of the Office of the Director of National Intelligence, the

Department of Justice, and the Federal Bureau of Investigation.

      Nonetheless, for purposes of transparency and completeness, the appropriate

officials in the intelligence community will review the transcript to identify any

unclassified information therein that could be filed on the public docket. We will

make best efforts to file, on the public docket, a redacted version of the transcript

with all classified information removed, in advance of Petitioners’ reply brief,

which is currently due August 15, 2024.

      As to the classified portions of the transcript, we are unaware of any past

circumstance in which classified testimony by the intelligence community at a

classified hearing before Congress has been shared with a court for consideration

in connection with civil litigation. This reflects the need to protect sensitive

interbranch discussion of matters of national security. The declarations the

Department has filed today from employees of the Office of the Director of

National Intelligence and the Federal Bureau of Investigation are based on the

same body of intelligence that was relied on in briefing the Congress, and the key

judgments in the intelligence community’s assessment were conveyed to Congress.

See Blackburn Decl. ¶ 6.

      Under the unusual circumstances of this case, however, the Department of

Justice plans to provide to the Court classified portions of the transcript that



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include the statements of Members of Congress and the testimony of the witness

from the Department of Justice. The appropriate officials will be reviewing the

transcript to apply the appropriate portion markings and take any other steps

necessary to provide a classified version of those portions of the transcript, ex

parte and in camera, as expeditiously as possible. We will make best efforts to

provide that version to the Court in advance of the September 16, 2024 oral

argument.

         The transcript is more than 170 pages long, is highly classified and does not

currently contain portion markings to identify the particular portions of the

transcript that are classified or the corresponding level of classification for each.

The review process that will be undertaken by the Intelligence Community will

require the involvement of multiple agencies and is likely to be extensive, given

that it will variously require officials to identify relevant source materials for

classified information in the transcript, consult with numerous subject matter

experts regarding the information discussed, provide agencies that may have

equities in the information at issue an opportunity to review, and obtain any special

approvals that may be necessary to enable submission of this classified material in

court.

         A transcript was also prepared for one of the classified briefings, a briefing

before the Senate Select Committee on Intelligence and the Senate Committee on



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Commerce, Science, and Transportation on March 20, 2024. Although a limited

number of Department of Justice personnel were authorized to review the

transcript of the Senate briefing, we understand that a full Senate vote would be

required before the transcript can be released to the Executive Branch, submitted to

the Court, or characterized in filings.

                                          Respectfully submitted,

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